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                    IN THE UNITED STATES DISTRICT COURT FOR THE                             JUL 132023
                              EASTERN DISTRICT OF VIRGINIA
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                                       Alexandria Division                            _   ALbvAiinRIA




 UNITED STATES OF AMERICA

         V.                                            No. l:23-cr-119


 CONOR BRIAN FITZPATRICK,                              Honorable T.S. Ellis, III

         a/k/a "Pompompurin"

            Defendant.



                                      PLEA AGREEMENT


       Jessica D. Aber, United States Attorney for the Eastern District of Virginia; Kenneth A.

Polite, Jr., Assistant Attorney General, Criminal Division; undersigned counsel for the United

States; the defendant, CONOR BRIAN FITZPATRICK (a/k/a "Pompompurin"), and the

defendant's counsel have entered into an agreement pursuant to Rule 11 of the Federal Rules of

Criminal Procedure. The terms of this Plea Agreement are as follows:

       1.       Offense and Maximum Penalties


       The defendant agrees to plead guilty to a three-count criminal information charging the

defendant with conspiracy to commit access device fraud, in violation of Title 18, United States

Code, Sections 1029(b) and 3559(g)(1), solicitation for the purpose of offering access devices, in

violation of Title 18, United States Code, Section 1029(a)(6), and possession of child

pornography, in violation of Title 18, United States Code, Sections 2252(a)(4)(B) and (b)(2).

The maximum penalties for conspiracy to commit access device fraud, as pleaded with

3559(g)(1), are 10 years of imprisonment, a fine of$250,000, full restitution, forfeiture of assets

as outlined below, a $100 special assessment, and three years of supervised release. The

maximum penalties for solicitation for the purpose of offering access devices are 10 years of
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imprisonment, a fine of$250,000,full restitution, forfeiture of assets as outlined below, a $100

special assessment, and three years ofsupervised release. The maximum penalty for possession

of child pornography is 20 years ofimprisonment, a fine of$250,000, full restitution, forfeiture

ofassets as outlined below, any special assessment pursuant to 18 U.S.C. §§ 3013, 3014, and

2259A, and a minimum supervised release term of5 years and a maximum of Life. The

defendant understands that any supervised release term is in addition to any prison term the

defendant may receive, and that a violation ofa term of supervised release could result in the

defendant being retumed to prison for the full term of supervised release.

       2.      Factual Basis for the Plea


       The defendant will plead guilty because the defendant is in fact guilty ofthe charged

offense. The defendant admits the facts set forth in the Statement of Facts filed with this Plea

Agreement and agrees that those facts establish guilt ofthe offense charged beyond a reasonable

doubt. The Statement of Facts, which is hereby incorporated into this Plea Agreement,

constitutes a stipulation offacts for purposes of Section IB 1.2(c) ofthe Sentencing Guidelines.

       3.      Assistance and Advice of Counsel


       The defendant is satisfied that the defendant's attorney has rendered effective assistance.

The defendant understands that by entering into this Plea Agreement, defendant surrenders

certain rights as provided in this agreement. The defendant understands that the rights of

criminal defendants include the following:

               a.     the right to plead not guilty and to persist in that plea;

               b.     the right to ajury trial;

               c.     the right to be represented by counsel—and,if necessary, have the court
                      appoint counsel—at trial and at every other stage ofthe proceedings; and
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                d.      the right at trial to confront and cross-examine adverse witnesses, to be
                        protected from compelled self-incrimination, to testify and present
                        evidence, and to compel the attendance of witnesses.

       4.       Sentencing Guidelines, Recommendations,and Roles

       The defendant understands that the Court has jurisdiction and authority to impose any

sentence within the statutory maximum described above, but that the Court will determine the

defendant's actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

that the Court has not yet determined a sentence and that any estimate ofthe advisory sentencing

range under the U.S. Sentencing Commission's Sentencing Guidelines Manual the defendant

may have received from the defendant's counsel, the United States, or the Probation Office, is a

prediction, not a promise, and is not binding on the United States, the Probation Office, or the

Court. Additionally, pursuant to the Supreme Court's decision in United States v. Booker^ 543

U.S. 220(2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

impose a sentence above or below the advisory sentencing range, subject only to review by

higher courts for reasonableness. The United States makes no promise or representation

concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty

plea based upon the actual sentence.

       Further, in accordance with Federal Rule of Criminal Procedure 11(c)(1)(B), the United

States and the defendant stipulate and will recommend to the Court that the follovring provisions

ofthe Sentencing Guidelines apply in relation to Counts 1 and 2:

 Guideline(s)                   Description                                         Offense Level

 Section 2B 1.1(a)(2)           Base offense level                                        6

 Section 2Bl.l(b)(2)(a)(ii)     Offense involved 10 or more victims                       +2

                                Ifthe offense involved receiving stolen
                                property, and the defendant was a person in the
 Section 2B1.1(b)(4)                                                                      +2
                                business of receiving and selling stolen
                                property
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                               The scheme involved in the intentional use of
 Section 2Bl.l(b)(10)(A)                                                                    +2
                               sophisticated means
                               The offense involved the trafficking of any
 Section 2Bl.l(b)(ll)(B)                                                                    +2
                               unauthorized access devices
                               The offense involved the unauthorized public
 Section 2Bl.l(b)(18)                                                                       +2
                               dissemination of personal information
                               The defendant was an organizer or leader of
 Section 3B1.1                 criminal activity that involved five or more                 +4
                               participants
                               The statutory enhancement under 18 U.S.C. §
 Section 3C1.4                                                                              +2
                               3559(g)(1) applies

       The United States and the defendant further agree that, pursuant to Section 2B 1.1(b)(1),

the defendant's offense level should be increased by at least 14 levels, because the loss

foreseeably resulting from the defendant's offenses exceeded $550,000. The United States

reserves the right to argue at sentencing that the Court should increase the defendant's offense

level by more than 14 levels The defendant reserves the right to oppose any further increases to

his offense level under Section 2B 1.1(b)(1).

       Further, the United States and the defendant stipulate and will recommend to the Court

that the following provisions ofthe Sentencing Guidelines apply in relation to Count Three

(Possession of Child Pomography):

     Guidelme(s)                                Description                        Offense Level

 2G2.2(a)(l)              Base Offense Level                                                18


 2G2.2(b)(2)              The material involved a prepubescent minor or a               +2
                          minor who had not attained the age of 12 years

 2G2.2(b)(6)             The offense involved the use of a computer or an               +2
                         interactive computer service for the possession,
                         transmission, receipt, or distribution ofthe material,
                         or for accessing with intent to view the material

 2G2.2(b)(7)(D)           The offense involved 600 or more images                           +5


       The United States and the defendant further stipulate and will jointly recommend to the

Court that the Court treat the offenses of conviction charged in Counts 1 and 2 as one Group of
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closely related counts, and the offense of conviction charged in Count 3 as a second Group of

closely related counts, pursuant to Section 3D 1,2.


         The United States and the defendant further agree that the defendant has assisted the

government in the investigation and prosecution of the defendant's own misconduct by timely

notifying authorities ofthe defendant's intention to enter a plea of guilty, thereby permitting the

government to avoid preparing for trial and permitting the govemment and the Court to allocate

their resources efficiently. Ifthe defendant qualifies for a two-level decrease in offense level

pursuant to U.S.S.G. § 3El.l(a)and the offense level prior to the operation ofthat section is a

level 16 or greater, the govemment agrees to file, pursuant to U.S.S.G. § 3E1.1(b), a motion prior

to, or at the time of, sentencing for an additional one-level decrease in the defendant's offense

level.


         The United States and the defendant have not agreed on any further sentencing issues,

whether related to the Sentencing Guidelines or the factors listed in 18 U.S.C. § 3553(a), other

than those set forth above or elsewhere in this Plea Agreement. Any stipulation on a Guidelines

provision does not limit the parties' arguments as to any other Guidelines provisions or

sentencing factors under Section 3553(a), including arguments for a sentence within or outside

the advisory Guidelines range found by the Court at sentencing.

         5.     Waiver of Venue


         The defendant understands that venue for Count Three lies in the Southern District of

New York, and that he cannot be compelled to answer said charge in the Eastem District of
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Virginia. Nonetheless, the defendant hereby waives venue and consents to being charged, by

criminal information, with said offense, in the Eastern District of Virginia.

       6.      Waiver of Appeal,FOIA,and Privacy Act Rights

       The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal

the conviction and any sentence within the statutory maximum described above (or the manner in

which that sentence was determined)on the grounds set forth in 18 U.S.C. § 3742 or on any

ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

direct appeal, in exchange for the concessions made by the United States in this Plea Agreement.

This agreement does not affect the rights or obligations ofthe United States as set forth in 18

U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a

representative, to request or receive from any department or agency ofthe United States any

records pertaining to the investigation or prosecution of this case, including without limitation

any records that may be sought under the Freedom ofInformation Act,5 U.S.C. § 552, or the

Privacy Act, 5 U.S.C. § 552a. .

       7.      Immunity from Further Prosecution in This District

       The United States will not further criminally prosecute the defendant in the Eastern

District of Virginia for the specific conduct described in the Information or Statement of Facts.

This Plea Agreement and Statement of Facts does not confer on the defendant any immunity

from prosecution by any state government in the United States.

       8.      Payment of Monetary Penalties

       The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613 and 18 U.S.C.

§ 3572, all monetary penalties imposed by the Court, including restitution, will be due
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immediately and subject to immediate enforcement by the United States as provided for in

Section 3613. Ifthe Court imposes a schedule of payments,the defendant understands that the

schedule of payments is merely a minimum schedule of payments and not the only method, nor a

limitation on the methods, available to the United States to enforce the judgment. Until all

monetary penalties are paid in full, the defendant will be referred to the Treasury Offset Program

so that any federal payment or transfer of returned property to the defendant will be offset and

applied to pay the defendant's unpaid monetary penalties. If the defendant is incarcerated, the

defendant agrees to participate voluntarily in the Bureau of Prisons' Inmate Financial

Responsibility Program,regardless of whether the Court specifically directs participation or

imposes a schedule of payments. Defendant agrees to make good-faith efforts toward payment

of all monetary penalties imposed by the Court.

         9.     Special Assessment

         Before sentencing in this case, the defendant agrees to pay a mandatory special

assessment of$100 per felony count of conviction, pursuant to 18 U.S.C. § 3013(a)(2)(A).

         The defendant further understands and agrees that, pursuant to 18 U.S.C. § 3014, ifthe

Court should find that the defendant is non-indigent, the Court shall impose an additional special

assessment on the defendant of$5,000 per count of conviction for each offense listed in Section

3014(a). However,that special assessment shall not be payable until the defendant has satisfied
all outstanding court-ordered fines, orders ofrestitution, and any other obligation related to
victim compensation arising from the criminal convictions on which the special assessment is
based.


         The defendant further understands and agrees that, pursuant to 18 U.S.C. § 2259A,in

addition to any other criminal penalty, restitution, or special assessment authorized by law,the
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Court shall impose on the defendant any applicable special assessments per count of conviction

for each offense listed in Section 2259A(a)after considering the factors set forth in Sections

3553(a) and 3572, up to a maximum of$17,000 as to Count Three. However,imposition of an

assessment under Section 2259A does not relieve a defendant of, or entitle a defendant to reduce

the amount of any other penalty by the amount of the assessment. Any money received from a

defendant shall be disbursed based on the sequence listed in Section 2259A(d)(2).

       10.     Restitution


       The defendant agrees that restitution is mandatory pursuant to 18 U.S.C. § 2259, and the

defendant agrees to the entry ofa restitution order for the full amount ofthe victims' losses as

those losses are defined by Section 2259(c)(2). Pursuant to 18 U.S.C. § 3663(a)(3), the

defendant further agrees that victims ofthe conduct described in the charging instrument.

Statement of Facts, or any related or similar conduct are victims within the meaning of 18 U.S.C.

§ 2259(c)and are entitled to restitution. The defendant understands that, pursuant to Section

2259(b)(2)(B),the Court must order restitution to each victim in an amount not less than $3,000.

       The defendant further agrees that restitution is mandatory pursuant to 18 U.S.C.

§ 3663A(c)(l), and the defendant agrees to the entry ofa Restitution Order for the fiill amount of

the victims' losses as determined by the Court. Pursuant to 18 U.S.C. § 3663A(c)(2),the

defendant further agrees that an offense listed in Section 3663A(c)(l) gave rise to this Plea

Agreement and, as such, victims ofthe conduct described in the charging instrument. Statement

ofFacts, or any related or similar conduct shall be entitled to restitution.

       The parties acknowledge that determination ofthe identities, addresses, and loss amounts

for all victims in this matter is a complicated and time-consuming process. To that end,

defendant agrees that, pursuant to 18 U.S.C. § 3664(d)(5), the Court may defer the imposition of
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restitution until after the sentencing; however, defendant specifically waives the 90-day

provision found at Section 3664(d)(5) and consents to the entry of any orders pertaining to

restitution after sentencing without limitation.

       11.     Forfeiture Agreement

       The defendant understands that the forfeiture of assets is part ofthe sentence that must be

imposed in this case. The defendant agrees to forfeit all proceeds that he and his co-conspirators

received from his participation in the crimes charged in the information, which the United States

and the defendant agree amounts to at least $698,714. The defendant further agrees to forfeit all

interests in any child pornography-related and fraud-related asset that the defendant owns or over

which the defendant exercises control, directly or indirectly. This includes any property that is

traceable to, derived from,fungible with, or a substitute for the following: property that

constitutes the proceeds ofthe offense and property used in or involved in the offense, including

all cryptocurrency,fiat currency, domain names, and computers and electronic media specified in

the Forfeiture Notice in the Criminal Information and Consent Forfeiture Order.

       The defendant understands that ifthe assets subject to forfeiture are not available to the

United States to be forfeited, the Court must enter a forfeiture money judgment in the amount of

the imavailable assets. United States v. Blackman, 746 F.3d 137(4th Cir. 2014).

       The defendant further agrees to waive all interest in the asset(s) in any administrative or

judicial forfeiture proceeding, whether criminal or civil, state or federal. The defendant agrees to

consent to the entry oforders offorfeiture for such property and waives the requirements of

Federal Rules of Criminal Procedure 32.2 and 43(a)regarding notice ofthe forfeiture in the

charging instrument, announcement ofthe forfeiture at sentencing, and incorporation ofthe

forfeiture in the judgment. Defendant admits and agrees that the conduct described in the
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charging instrument and Statement of Facts provides a sufficient factual and statutory basis for

the forfeiture ofthe property sought by the government.

        12.     Waiver of Further Review of Forfeiture


        The defendant further agrees to waive all constitutional and statutory challenges to

forfeiture in any manner (including direct appeal, habeas corpus, or any other means)to any

forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the

forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by

the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is

accepted as required by Rule 1 l(b)(l)(J). The defendant agrees to take all steps as requested by

the United States to pass clear title to forfeitable assets to the United States, and to testify

truthfully in any judicial forfeiture proceeding. The defendant understands and agrees that all

property covered by this agreement is subject to forfeiture as proceeds of illegal conduct and

property used or involved in the offense.

        13.     The Defendant's Obligations Regarding Assets and Financial Investigation

        The defendant agrees to fully participate in the United States' pre- and post-judgment

financial investigation. Such participation includes the identification of assets in which the

defendant has any legal or equitable interest to determine what assets may be available for

payment to restitution, forfeiture, and/or any fine imposed in this case. The defendant agrees that

the defendant's financial information is subject to investigation and disclosure pre-judgment to

the same extent as financial information will be subject to discovery afterjudgment is imposed.

The defendant understands that 31 U.S.C. § 3711(h)(1) permits the United States to obtain the

defendant's credit report after sentencing and expressly authorizes the United States to obtain the

defendant's credit report prior to sentencing in this case. The defendant understands that the



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United States has sole discretion over whether it will obtain defendant's credit report pursuant to

this Plea Agreement. Ifthe United States determines that it will obtain defendant's credit report

prior to sentencing pursuant to this Plea Agreement,the defendant authorizes the United States,

and the United States agrees, to provide a copy to defense counsel upon request. The defendant

understands that failure to participate in the financial investigation as described in this paragraph

may constitute the defendant's failure to accept responsibility under U.S.S.G § 3E1.1.

       Within 14 days ofa request by the United States, or other deadline agreed upon by the

parties, the defendant agrees to provide all information about all ofthe defendant's assets and

financial interests to the United States and the Probation Office and, if requested, submit to a

debtor's examination, complete a financial disclosure statement under penalty of perjury, and/or

undergo any polygraph examination the United States may choose to administer concerning such

assets and financial interests. The defendant also agrees to provide or consent to the release of

the defendant's tax returns for the previous five years. The defendant understands that assets and

financial interests subject to disclosure include assets owned or held directly or indirectly,

individually or jointly, in which the defendant has any legal interests, regardless oftitle,

including any interest held or owned under any other name,trusts, and/or business entities

presently and since date ofthe first offense giving rise to this Plea Agreement, or giving rise to

the charges presently pending against the defendant, whichever is earlier.

       The defendant shall identify all assets valued at more than $5,000 that have been

transferred to third parties since the date ofthe first offense giving rise to this Plea Agreement,

including the location ofthe assets and the identities ofthird parties to whom they were

transferred. The defendant agrees not to transfer any assets valued at more than $5,000 without

approval ofthe Asset Recovery Unit ofthe U.S. Attorney's Office until the fine, forfeiture, and



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restitution ordered by the Court at sentencing are paid in full or otherwise terminated by

operation oflaw. The defendant agrees to take all steps requested by the United States to obtain

from any other parties by any lawful means any records of assets contemplated by this paragraph

in which the defendant has or had an interest. Until the fine, forfeiture, and restitution ordered

by the Court are paid in full or otherwise terminated by operation oflaw,the defendant agrees to

notify the Asset Recovery Unit ofthe U.S. Attorney's Office of a change in address within 30

days ofsuch change.

       The United States will not use any truthful and complete information provided by the

defendant pursuant to this paragraph for additional criminal offenses against the defendant in the

Eastern District of Virginia, except in any prosecution for a crime of violence or conspiracy to

commit,or aiding and abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to

U.S.S.G. § 1B1.8, no truthful information that the defendant provides pursuant to defendant's

obligations under this paragraph will be used in determining the applicable guideline range,

except as provided in Section IB1.8(b). Nothing in this agreement, however, restricts the

Court's or Probation Officer's access to information and records in the possession ofthe United

States. Furthermore, nothing in this agreement prevents the United States in any way from

prosecuting the defendant should the defendant knowingly provide false, untruthful, or

peijurious information or testimony, or from using information provided by the defendant in
furtherance of any forfeiture action or restitution enforcement action, whether criminal or civil,
administrative or judicial.

        14.    Sex Offender Registration and Notification Act

        The defendant has been advised, and understands, that under the Sex Offender

Registration and Notification Act, a federal law,the defendant must register and keep the



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registration current in each ofthe following jurisdictions: where the defendant resides; is an

employee; or is a student. The defendant understands that the requirements for registration

include providing true name,residence address, and names and addresses of any places where

the defendant is or vvdll be an employee or a student, among other information. The defendant

further understands that the requirement to keep the registration current includes informing at

least one jurisdiction in which the defendant resides, is an employee, or is a student not later than

three business days after any change ofthe defendant's name,residence, employment,or student

status. The defendant has been advised, and understands, that failure to comply with these

obligations subjects the defendant to prosecution for failure to register under federal law, 18

U.S.C. § 2250, which is punishable by a fine or imprisonment, or both.

       15.     Breach of the Plea Agreement and Remedies

       This Plea Agreement is effective when signed by the defendant, the defendant's attorney,

and an attomey for the United States. The defendant agrees to entry ofthis Plea Agreement at

the date and time scheduled with the Court by the United States(in consultation with the

defendant's attomey). Ifthe defendant vvdthdraws from this agreement, or commits or attempts

to commit any additional federal, state, or local crimes, or intentionally gives materially false,

incomplete, or misleading testimony or information, or otherwise violates any provision of this
agreement,then:

               a.      The United States will be released from its obligations under this
                       agreement. The defendant, however, may not withdraw the guilty plea
                       entered pursuant to this agreement.

               b.      The defendant will be subject to prosecution for any federal criminal
                       violation, including, but not limited to, perjury and obstmction ofjustice,
                       that is not time-barred by the applicable statute oflimitations on the date
                       this agreement is signed. Notwithstanding the subsequent expiration of
                       the statute of limitations, in any such prosecution, the defendant agrees to
                       waive any statute-of-limitations defense.


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              c.      Any prosecution, including the prosecution that is the subject ofthis
                      agreement, may be premised upon any information provided, or
                      statements made, by the defendant, and all such information, statements,
                      and leads derived therefrom may be used against the defendant. The
                      defendant waives any right to claim that statements made before or after
                      the date ofthis agreement, including the Statement of Facts accompanying
                      this agreement or adopted by the defendant and any other statements made
                      pursuant to this or any other agreement with the United States, should be
                      excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f),
                      the Sentencing Guidelines, or any other provision ofthe Constitution or
                      federal law.

       Any alleged breach ofthis agreement by either party shall be determined by the Court in

an appropriate proceeding at which the defendant's disclosures and documentary evidence shall

be admissible and at which the moving party shall be required to establish a breach ofthis Plea

Agreement by a preponderance ofthe evidence.




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       16.     Nature of the Agreement and Modifications

       This written agreement constitutes the complete plea agreement between the United

States, the defendant, and the defendant's counsel. The defendant and the defendant's attorney

acknowledge that no threats, promises, or representations have been made, nor agreements

reached, other than those set forth in writing in this Plea Agreement or any associated documents

filed \vith the Court, to cause the defendant to plead guilty. Any modification ofthis Plea

Agreement shall be valid only as set forth in writing in a supplemental or revised plea agreement

signed by all parties.

                                             Jessica D. Aber
                                             United States Attorney

                                             Kenneth A. Polite, Jr.
                                             Assistant Attorney General, Criminal Division


Date: July(J,2023                    By:
                                             Lauren Halper
                                             Assistant United States Attorney

                                             Aarash A. Haghighat
                                             Senior Counsel
                                             Computer Crime and Intellectual Property Section
                                             U.S. Department of Justice, Criminal Division.




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       Defendant's Sistnature: I hereby agree that I have consulted with my attorney and fully
understand all rights with respect to the pending criminal Information. Further,I fully
understand all rights with respect to 18 U.S.C. § 3553 and the provisions ofthe Sentencing
Guidelines Manual that may apply in my case. I have read this Plea Agreement and carefully
reviewed every part ofit with my attorney. I understand this agreement and voluntarily agree to
it.



 Da.e:_VlfZ25^_
     ^
                                                ConcV
                                              CONOR BRIAN FITZPATRICK
                                                                      <A\VrrcK
         Defense Counsers Signature: I am counsel for the defendant in this case. I have fully
explained to the defendant the defendant's rights with respect to the pending Information.
Further, I have reviewed 18 U.S.C. § 3553 and the Sentencing Guidelines Manual, and I have
fully explained to the defendant the provisions that may apply in this case. I have carefully
reviewed every part ofthis Plea Agreement with the defendant. To my knowledge,the
defendant's decision to enter into this agreement is an informed and voluntary one.


 Date;
                                              Defenl^d^dbnseLName
                                              CounM for tljb Defendant




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